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  IT IS ORDERED as set forth below:



  Date: September 12, 2020
                                                 _____________________________________
                                                             James R. Sacca
                                                       U.S. Bankruptcy Court Judge

 _______________________________________________________________



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                               GAINSVILLE DIVISION


In re:

Michael L. Ezell,                                         Case No.: 08-21056-JRS
Patricia A. Ezell                                         Chapter 13

      Debtors
_______________________
   ORDER ON MOTION TO REOPEN CHAPTER 13 CASE FOR THE PURPOSE OF
                   FILING SUBSEQUENT ADVERSARY CASE

         This matter arose upon Debtor’s “Motion to Reopen Chapter 13 Case for the Purpose of

Subsequent Adversary Case”, (“Motion”) filed in the above-styled Chapter 13 case July 6, 2020.

No hearing is necessary. After review of the record and the pleadings in this case and for good

cause shown, it is hereby

         ORDERED that the Motion is GRANTED.

                                   (END OF DOCUMENT)

/s/ Susan H.Senay
Susan H. Senay, Esq.
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                           ; Nancy J. Whaley, Standing Ch. 13 Trustee
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                                      Suntrust Garden Plaza
                                       Atlanta, GA 30303

                                    Asst United States Trustee
                               75 Ted Turner Drive, S.W., Room 362
                                        Atlanta, GA 30303
